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 5                         UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA
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 8
     UNITED STATES OF AMERICA
 9                                                    ) Case No.: CR S-08-090- EJG
              Plaintiff,                              ) STIPULATION AND ORDER
10                                                    )
            vs.                                       ) CONTINUING SENTENCING
11                                                    ) HEARING AND ADOPTING NEW
     LUCIANO PORCAYO, et. al.,                        )
12                                                    ) SCHEDULE FOR DISCLOSURE
                    Defendants.                       ) OF SENTENCING REPORT AND
13                                                    )
                                                        OBJECTIONS
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15
                                            Stipulation
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            The government and the defendant, Luciano Porcayo, through undersigned counsel,
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     stipulate and request that the sentencing hearing scheduled for April 15, 2011, at 10:00 a.m. may
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     be continued to May 20, 2011, at 10:00 a.m. and that the Court order the following schedule for
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     disclosure of the pre-sentence report and the objections thereto:
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            Disclosure of draft pre-sentence report               April 8, 2011
21
            Written objections to draft PSR                       April 22, 2011
22
            Filing and disclosure of PSR                          April 29, 2011
23
            Motion for corrections of PSR                          May 6, 2011
24
            Reply or statement of non-opposition                   May 13, 2011
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            The request for the continuance of the hearing and the new schedule regarding the
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     sentencing report is made by the parties. The basis for this request is that given the passage of
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     time since the first PSR interview, an additional interview with the defendant needed to be
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 1   conducted to reflect new financial information to be included the pre-sentence report. Mr.
 2   Porcayo is out of custody on bond.
 3
     DATED: March 11, 2011                                Respectfully submitted,
 4                                                        /s/ Lindsay Anne Weston
                                                          _______________________________
 5
                                                          LINDSAY ANNE WESTON
 6                                                        Counsel to Luciano Porcayo
 7

 8                                                        BENJAMIN WAGNER
                                                          United States Attorney
 9

10
                                                          /s/ Lindsay Weston for Samantha Spangler
                                                          [per e-mail authorization]
11                                                        __________________________________
                                                          SAMANTHA S. SPANGLER
12
                                                          Assistant U.S. Attorney
13

14                                        ORDER
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            GOOD CAUSE APPEARING, IT IS SO ORDERED.
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     DATED: March 16, 2011
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20                                                        /s/ Edward J. Garcia
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                                                          EDWARD J. GARCIA, Judge
                                                          United States District Court
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